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                               SO UTH ERN DISTR IC T O F FLO R IDA

                                    CaseN o.1:17-cv-60426-UU

  ALEKSEJGUBAREV,etal.,

          Plaintiffs,



   BUZZFEED,INC.,etal.,

          D efendants.




          THIS CAUSE com esbeforetheCourtsuasponte.
          TH E COU RT has considered the pertinent portions ofthe record and is otherwise fully

   advised in the prem ises.

          Byconsentoftheparties(and,whereapplicable,non-partieswhohaddesignatedmaterial
   asconfidential),theCourtherebyORDERSAND ADJUDGESthat:
           Notearlier than seven (7)davs after entrv ofthisOrder,the Clerk ofCourtSHALL

           UN SEA L thefollow ing docketentries:

                        D.E.211-20only (Exhibit//46)1;
                  * D.E.228-2 only (Declaration ofNathan Siegelin Opposition to Plaintiffs'
                    M otionforSummaryJudgment);
                  * D.E.228-3 only (Exhibit//1);
                        D.E.228-4only (Exhibit//2),
                                                  .
                  * D.E.238-3only(Rep.Exhibit//1)*
                                                 ,

   l N on-party Fusion GPS failed to tim ely file a position statement and therefore is deemed to have
   consented to unsealing.
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                     D.E.238-5only (Rep.Exhibit//3);
                     D.E.238-6only(Rep.Exhibit//4);
                 * D.E.238-7only(Rep.Exhibit//5),
                                                .
                     D.E.214-11only (Exhibit//8);
                 * D.E.214-17only(Exhibit//14);
                 * D.E.214-18only (Exhibit//15)4
                 @ D.E.223-4only(Certification ofEmergencyl;
                 @ D.E.234-3 only(Shayef.arOppositionDeclarationl;
                 @ D.E.263,m ain documentonly(Defendants'M otionin LimineNo.8).
                                                                              ,
                 * D.E.266and266-1(Defendants'M otioninLimineNo.3).
                                                                  ,
                 * D.E.275-16only(Exhibit//14);
                  * D.E.281-1only (Plaintiffs'M otioninLimineNo.4).
                                                                  ,
                  . D.E.312-1only (SiegelDeclarationl;
                  * D.E.333,main documentonly (Defendants'Reply i/s/o Motion in Limine
                    No.10),
                          .
                  @ D.E.333-2only(Exhibit//1);
                      D.E.352-4only (Exhibit//3);
                  @ D.E.353-3 only (Exhibit//2);
       2. Notearlier than seven (7)davsllfter entrv ofthisOrder.butin no eventlaterthan
           Februarv 8. 2019, Plaintiffs SH A LL separately file UN SEA LED versions of the

           follow ing docketentries:

                  @ D.E.211-14,pages1tllrough29only (Exhibits#22-25)2;

                      D.E.211-18,pages20through 56only (Exhibits//42-44);

   2 N on-party K Global, LLC failed to timely file a position statement and therefore is deem ed to have
   consented to unsealing.
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                     D.E.211-21,pages20through33 only (Exhibits#49-50);
                     D.E.234-4,pages53thl
                                        rough 58only(Exhibits//61-62);
                     D.E.234-5,pages119through 140only(Exhibits//73-74);
                     D.E.234-5,pages148tllrough 159only (Exhibit//76)4
                 * D.E.234-7,pages1through 22only (Exhibits//78-81)34
                 @ D.E.234-7,pages65through 76only (Exhibits//85-86);
          Notearlierthan seven (7)davs after entrv ofthisO rder.butin no eventlater than

          Februarv 8.2019,Defendants SHALL separately file UN SEALED versions of the

          following docketentries:
                  @ D .E. 211-21, pages 11 through 19 only, w ith redactions applied per
                     Defendants'objection in theparties'Amended JointResponse(D.E.378-
                     1)(theddlointResponse'')(Exhibit//48);
                  * D.E.238-2 only,with redactionsapplied perDefendants'objection in the
                    JointResponse(ShayefarReplyDeclaration);
                      D .E.214,m ain docum ent only,w ith redactions applied per D efendants'
                      objection in theJointResponse(Defendants'çsM ain''M SJI;
                      D.E.214-2 only,with redactionsapplied perDefendants'objection in the
                      JointResponse(Defendants'StatementofM aterialFactsi/s/okdM ain''M SJI;
                      D.E.214-3 only,with redactionsapplied perDefendants'objection in the
                      JointResponse(BolgerDeclarationi/s/otsM ain''M SJ);
                      D.E.214-20 only,with redactionsapplied per Defendants'objection in
                      theJointResponse(Exhibit//17);
                      D.E.234-1only,with redactionsapplied perDefendants'objection in the
                      JointResponse(Plaintiffs'Opposition to Defendants'M otion forSttmmm'y
                      Judgmentl;
                      D.E.234-2 only,with redactionsapplied perDefendants'objection in the
                      JointResponse(OppositiontoStatementofM aterialFacts);

   3N on-party CN N failed to tim ely file a position statementand therefore isdeemed to have consented to
   unsealing.
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                * D .E .243,m ain docum ent only.w ith redactions applied per D efendants'
                    objectionintheJointResponse(Replyi/s/oDefendants'çdMain''M SJI;
                    D.E.243-1only,with redactionsapplied perDefendants'objection in the
                    JointResponse(BolgerDecl.i/s/oCsM ain''Replyl;and
                    D.E.322-1only,with redactionsapplied perDefendants'objection in the
                    JointResponse(Plaintiffs'Oppositionto Defendants'M otion inLimineNo.
                    9).
          UNLESS OTHERW ISE SPECIFIED. ALL O THER PO RTIONS OF TH E

   SEALED DO CK ET ENTRIES SHALL REM AIN UNDER SEAL PENDING FURTHER

   C O U R T O R DER .

          DONE AND ORDEM D in Cham bers,M iam i,Florida,this30th day ofJanuary,2019.




                                                  URSULA UNGARO
                                                  UN ITED STATES DISTRICT JUDGE
   cc:counselofrecord viacm /ecf
